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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

------------------------------------------------------------------------x
 JOSEPH GUGLIELMO, on behalf of himself and all others
 similarly situated,
                                                                               Civil Action No:
                                                                               1:19-cv-11074
                                                  Plaintiff,




          -v.-
 MJIC, INC.,




                                              Defendants.
------------------------------------------------------------------------x


                                       NOTICE OF SETTLEMENT

        Please take notice that parties have settled the above-referenced case. This settlement is

contingent upon the execution of a written settlement agreement. The case will be dismissed by

Plaintiff upon completion of specified conditions, in no more than 60 days from the date of this

notice. Please vacate all currently scheduled dates in this matter.



DATED, this 6th day of January, 2020

                                                               /s/David Force
                                                               David Force, Esq.
                                                               Stein Saks, PLLC
                                                               285 Passaic Street
                                                               Hackensack, NJ 07601
                                                               Ph: 201-282-6500
                                                               dforce@steinsakslegal.com



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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically filed
on January 6, 2020 with the Clerk of Court using CM/ECF. I also certify that the foregoing
document is being served this day on all counsel of record or pro se parties identified on the Service
List below either via transmission of Notices of Electronic Filing generated by CM/ECF or in some
other authorized manner for those counsel or parties who are not authorized to receive
electronically Notices of Electronic Filing.



                                               /s/ David Force
                                               David Force, Esq.




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